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THE STATE OF NEW YORK and ERIC              l!:::D::::::~=:::Fll.,=E=D:~~(q
GONZALEZ

     Plaintiffs,
                                              19-cv-8876(JSR)
          -v-
                                              OPINION AND ORDER
U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, et al.

     Defendants.
-----------------------------------x
JED S. RAKOFF, U.S.D.J.

     Courts cannot be expected to function properly if third

parties (not least the executive branch of the government) feel

free to disrupt the proceedings and intimidate the parties and

witnesses by staging arrests for unrelated civil violations in

the courthouse, on court property, or while the witnesses or

parties are in transit to or from their court proceedings.

Accordingly, more than 500 years ago, the English courts

developed a common law privilege against civil arrests on

courthouse premises and against arrests of parties and other

persons necessarily traveling to or from court. This ancient

privilege, incorporated into American law in the early years of

our republic by virtually all state and federal courts, has

remained largely intact over the centuries. But now, according

to the State of New York, the federal Immigration and Customs

Enforcement agency ("ICE"), in implementation of an Executive

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Order issued by the Trump Administration in January 2017 and a

Directive to ICE agents promulgated in January 2018, has

increased its civil arrests in or around New York state

courthouses by a remarkable 1700 percent and more. By this

lawsuit, plaintiff The State of New York,    joined by co-plaintiff

Eric Gonzalez (the District Attorney of Kings County), demand

that these intrusions be halted.

     In response, ICE now moves to dismiss the complaint,

arguing, first,   that it is none of this Court's business and

second, that even if it is, the common law privilege against

courthouse arrests doesn't apply to ICE. Finding these and ICE's

other arguments without merit, the Court denies the motion to

dismiss, for the reasons set forth below.

                          THE ALLEGATIONS

     Plaintiffs The State of New York and the Kings County

District Attorney commenced this suit on September 25, 2019,

seeking both de~laratory and injunctive relief. Specifically,

the plaintiffs seek a declaration that ICE Directive No.

11072.1, Ex. A to Onozawa Deel.    (Oct. 23, 2019), ECF No. 27   (the

"Directiven) is invalid, Compl., Prayer for Relief!! 2-4. They

further ask that ICE be enjoined from "civilly arresting

parties, witnesses, and any other individual coming to,

attending, or returning from courthouses or court-related

proceedingsn in New York State. Id. ! 5.

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     According to the complaint, the Directive, which ICE

promulgated on January 10, 2018, Compl. ~ 42, served to

formalize aspects of Executive Order No. 13,768, 82 Fed. Reg.

8799, promulgated on January 25, 2017   (immediately after

President Trump took office), which directed ICE to vigorously

enforce the immigration laws against so-called "sanctuary

jurisdictions." According to the complaint, the impact of the

Executive Order on arrests on or near the premises of New York

state courthouses was immediate: They rose from 11 in 2016 to

172 in 2017. Compl. ~ 58 n.9   (referencing Immigrant Defense

Project, The Courthouse Trap 6 (Jan. 2019)). This shift was then

formalized by ICE when it issued the Directive in early January

2018, after which such arrests rose still further,   to 202 in

2018. Id.

     The Directive provides that ICE agents may target for civil

arrest on courthouse premises "aliens with criminal convictions,

gang members, national security or public safety threats, aliens

who have been ordered removed from the United States but have

failed to depart, and aliens who have re-entered the country

illegally after being removed," Directive§ 2. In addition, the

Directive provides that ICE may similarly arrest aliens outside

these specified categories, "such as family members or friends

accompanying the target alien to court appearances or serving as

a witness in a proceeding," in "special circumstances, such as

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where the individual poses a threat to public safety or

interferes with ICE's enforcement actions." Id.1

     In response to the Executive Order and the Directive, civil

arrests by ICE officers in and around New York state courthouses

have, as noted, dramatically increased. Although the Directive

purports only to offer guidance on how ICE officers should

exercise their enforcement discretion on a "case-by-case basis,"

Directive§ 2 n.1, plaintiffs infer from the more than 1700

percent increase in such arrests that the Directive actually

embodies a conscious decision to conduct widespread immigration

arrests in or around state courthouses, a reversal of ICE's pre-

2017 policy to largely abstain from such arrests. Compl. 11 30-

37, 58.

     These arrests, according to the Complaint, have seriously

prejudiced New York's sovereign interest in maintaining a

functioning court system. And this is not just because the

arrests are, by their very nature, disruptive. In addition,

aliens who are parties to lawsuits have declined to attend



1 The Directive does place some limits on the authority of ICE
agents to conduct immigration arrests inside state courthouses.
For example, the Directive states that "ICE officers and agents
should generally avoid enforcement actions in courthouses, or
areas within courthouses that are dedicated to non-criminal
(e.g., family court, small claims court) proceedings." Id. The
Directive also tells officers to cooperate with court security
staff and to utilize non-public entrances and exits to the
extent practicable. Id.


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scheduled hearings, fearing arrest. This not only forces courts

to adjourn proceedings, thereby wasting judicial resources, see,

~ , Compl.   ~~   68, 70, 75; see also Br. of Former Judges as

Amici Curiae in Supp. of Pls.' Oppo. to Defs.' Mot. to Dismiss

(Nov. 5, 2019), ECF No. 34, at 10-14   (hereinafter "Br. of Former

Judges"), but also undermines New York's interest in allowing

plaintiffs to pursue meritorious civil claims, Compl. ~~ 83-84;

see generally Br. of Amici Curiae Immigrant Defense Project and

40 Legal Services Organizations, Public Defender Organizations,

and Non-Profit Organizations in Supp. of Pls.       (Nov. 5, 2019),

ECF No. 30 (hereinafter "Br. of Immigrant Defense Project et

al."); Br. of Former Judges 10-11. Further still, these arrests

have interfered with New York's ability to prosecute crimes,

both because witnesses who are undocumented aliens are afraid to

come forward and also because even those defendants who are

guilty of New York crimes are sometimes taken into ICE custody

before they can be tried and convicted. Compl.      ~~   88-105.

Finally, the Directive has also chilled crime reporting, with

calls to the Brooklyn DA's Immigrant Affairs Unit declining by

67 percent from 2016 to 2018. Compl.   ~   101; see also Br. of

Former Judges 7-10.

     Citing these harms, plaintiffs challenge the Directive on

three separate grounds. Count One, Compl.     ~~   135-42, argues that

ICE's courthouse arrest policy violates the ancient common law

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privilege against civil arrest when one is present at a

courthouse or necessarily traveling to or from court

proceedings. This privilege, plaintiffs further argue, is

presumptively incorporated into the Immigration and Nationality

Act   ("INA"), rendering the Directive "in excess of statutory

jurisdiction, authority, or limitations" and therefore invalid

under section 706 (2) (C) of the Administrative Procedure Act

("APA"). 5 U.S.C. § 706(2) (C); Compl.   CJICJI   121-29. Count Two

argues that ICE's adoption of the Directive was arbitrary and

capricious, in violation of section 7 0 6 ( 2) (A) of the APA,

because ICE did not adequately consider the harms that this

policy would impose. 2 5 U.S.C. § 706(2) (A); Compl. crrcrr 130-34; see

also Compl. crrcrr 62-105; Br. of Former Judges 7-14; Br. of

Immigrant Defense Project et al. Finally, citing these same

harms, Count Three argues that the Directive violates the Tenth




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  The Directive lists three purported justifications for this
policy. First, "[i]ndividuals entering courthouses are typically
screened by law enforcement personnel to search for weapons and
other contraband. Accordingly, civil immigration enforcement
actions taken inside courthouses can reduce safety risks to the
public, targeted alien(s), and ICE officers and agents."
Directive§ 1. Second, "many individuals appearing in
courthouses for one matter are wanted for unrelated criminal or
civil violations." Id. And third, "courthouse arrests are often
necessitated by the unwillingness of jurisdictions to cooperate
with ICE in the transfer of custody of aliens from their prisons
and jails." Id. None of these justifications addresses any of
the harms thatplaintiffs allege are inherent in implementation
of the Directive.

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Amendment to the U.S. Constitution because it impermissibly

burdens the State of New York's operation of its judicial

system. Compl.   ~~   135-42.

                          THE MOTION TO DISMISS

     Defendants present six grounds for dismissal, the first

three of which are jurisdictional in nature and are therefore

brought under Fed. R. Civ. P. 12(b) (1), and the latter three of

which are substantive in nature and therefore brought under Fed.

R. Civ. P. 12 (b) (6).

     The first jurisdictional ground is that the interests

plaintiffs ask this Court to protect are not within the "zone of

interests" protected by the INA, 8 U.S.C. §§ 1101 et seq. The

second is that ICE's immigration enforcement authority is

"committed to agency discretion by law" under 5 U.S.C. §

701(a) (2) and therefore unreviewable. The third is that the

Directive is not a final agency action and therefore

unreviewable under 5 U.S.C. § 704.

     The first substantive ground is defendants' contention that

there is no applicable common law privilege against courthouse

civil arrests still extant. The second is that, even if there is

such a privilege, it is preempted by the INA. The third is that

plaintiffs do not, in any case, state a Tenth Amendment claim.

                          STANDARDS OF REVIEW




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      The Court considers each of these arguments in turn. As to

the three grounds for dismissal under Rule 12(b) (1), the

plaintiff bears the burden of demonstrating the existence of

subject matter jurisdiction. Robinson v. Overseas Military Sales

Corp., 21 F.3d 502, 507   (2d Cir. 1994). But where, as here, the

Court "relies solely on the pleadings and supporting affidavits,

the plaintiff need only make a prima facie showing of

jurisdiction." Id. "In determining whether a plaintiff has met

this burden," the Court must "construe jurisdictional

allegations liberally and take as true uncontroverted factual

allegations." Id.

      As to the three arguments under Rule 12(b) (6), the

"complaint must contain sufficient factual matter, accepted as

true, to state a claim for relief that is plausible on its

face." Ashcroft v. Iqbal, 556 U.S. 662, 678     (2009)   (internal

quotation marks omitted). After discarding allegations that

amount to nothing more than legal conclusions, see Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007), the Court should

"accept as true" what remains and "draw all reasonable

inferences in plaintiff's favor." Beazley Ins. Co., Inc. v. Ace

Am.   Ins. Co., 150 F. Supp. 3d 345, 354   (S.D.N.Y. 2015)   (citing

In re Elevator Antitrust Litig., 502 F.3d 47, 50 (2d Cir.

2007)) .

                              REVIEWABILITY

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     Defendants' three jurisdictional arguments are all premised

on the notion that the Directive and ICE's actions pursuant to

the Directive are simply not reviewable by a federal district

court. Defendants ask the Court to hold that ICE has unfettered

and unchallengeable discretion to adopt a policy of conducting

immigration arrests in a setting where it previously did so only

rarely, thereby expanding the agency's own authority and

significantly altering its relationship with state governments.

This result would be a most unusual one under our constitutional

system, let alone in any nation that prides itself on adhering

to the rule of law. The Court therefore approaches defendants'

arguments on reviewability with some skepticism.

     First, defendants argue that plaintiffs do not have a cause

of action under the APA because the interests they seek to

protect are not "within the zone of interests to be protected or

regulated by" the INA. Match-E-Be-Nash-She-Wish Band of

Pottawatomi Indians v. Patchack, 567 U.S. 209, 224               (2012),

(quoting Ass'n of Data Processing Serv. Orgs., Inc. v. Camp, 397

F.3d 150, 153 (1970)). Defendants note that the INA broadly

authorizes the civil arrest of aliens in the United States, see

8 U.S.C.   §§   1226(a) & 1357(a). And while the INA creates

immigration courts (that is, courts that are an arm of the

executive) that allow individual aliens to challenge their

arrest and removal, see 8 U.S.C.        §   1252; 8 C.F.R.   §   1003.0 et

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seq., the statute does not explicitly provide a cause of action

to the plaintiffs here, nor does it "create[] any entitlement or

interest that Plaintiffs may invoke." Defs.' Mem. of Law in

Supp. of Mot. to Dismiss (Oct. 23, 2019), ECF No. 26, at 8

(hereinafter "Mem.").

     If the logic of defendants' arguments were carried to its

extreme, ICE would become virtually a fourth branch of

government, with unfettered discretion not subject to any

meaningful review by any constitutional court. But in fact, the

zone-of-interests test that must be satisfied to give the Court

jurisdiction is "not especially demanding,"

Lexmark Intern., Inc. v. Static Control Components, Inc., 572

U.S. 118, 130 (2014)    (quoting Match-E-Be-Nash-She-Wish, 567 U.S.

at 225)   (internal quotation marks omitted), and the Court finds

that it is satisfied here. Specifically, plaintiffs offer two

rationales as to why their interests are not "so marginally

related to or inconsistent with the purposes implicit in the

(INA] that it cannot reasonably be assumed that Congress

authorized the plaintiff to sue," Id. at 130 (internal quotation

marks omitted), and either one is sufficient to satisfy this

lenient standard. See Pls.' Mem. of Law in Oppo. to Defs.' Mot.

to Dismiss (Nov. 5, 2019), ECF No. 33, at 3-4    (hereinafter

"Oppo.").




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         First, as Judge Talwani of the District of Massachusetts

recently held, the text of the INA reflects a Congressional

"preference that federal immigration enforcement not impede

state criminal law enforcement." Ryan v. U.S. Immigration and

Customs Enf't, 382 F. Supp. 3d 142, 155 (D. Mass. 2019). For

example, section 1231 (a) (4) (A) of Title 8 provides that the

agency may not remove an alien who is currently serving a

sentence of imprisonment. Although an alien may be removed while

on parole or supervised release, id., this subparagraph

nonetheless demonstrates Congress's decision, at least in some

circumstances, to respect the determinations of the various

states' criminal justice institutions over those of federal

immigration authorities. Similarly, the U-visa program, see8

U.S.C.    §   1101(a)(15)(U), provides immigration status to alien

crime victims who assist law enforcement. This provision

evidences not only "Congressional intent to offer visas to

vulnerable persons," Defs.' Suppl. Mem. of Law in Further Supp.

Of Mot. to Dismiss (Dec. 3, 2019), ECF No. 42, at 2 (hereinafter

"Defs.' Suppl. Mem."), but also Congressional intent to

facilitate federal, state, and local criminal law enforcement.

     Second, plaintiffs here allege the kind of "secondary

economic injuries" resulting from the waste of judicial

resources that the Second Circuit recently held sufficient to

satisfy the zone-of-interests test, "notwithstanding that the

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statute violated was not intended to protect against the type of

injury suffered by the plaintiffs." C.R.E.W. v. Trump, 939 F.3d

131, 154    (2d Cir. 2019); see Compl. ~~ 2, 18, 66. Defendants

argue that C.R.E.W.'s holding applies only to suits by competing

firms,    Defs.' Suppl. Mem. 3-4, but the language of the decision

is not so narrow. For example, the C.R.E.W. court cited Bank of

America Corp. v. City of Miami, 137 S. Ct. 1297, 1303-05 (2017),

in which the Supreme Court held that Miami's predatory-lending

suit against the bank fell within the Fair Housing Act's zone of

interests because of the impact of foreclosures on the municipal

budget.

     The Court also notes that at least one circuit court has

already recognized that state plaintiffs fall within the INA's

zone of interests in a different context. See Texas v. United

States, 809 F.3d 134, 163 (5th Cir. 2015), aff'd by an equally

divided court, 136 S. Ct. 2271 (2016)    (challenging the Deferred

Action for Childhood Arrivals and Deferred Action for Parents of

Americans programs as violations of the INA on the ground that

states are harmed as providers of public benefits).

     The Court therefore finds that plaintiffs fall within the

INA's zone of interests and that plaintiffs therefore have a

cause of action for their APA claims under 5 U.S.C. § 702. 3



3 Defendants also cite additional cases where various non-profit
organizations were found not to fall within the INA's zone of
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       Defendants' second ground for dismissal under Fed. R. Civ.

P. 12(b) (1) is that plaintiffs' APA claims are unreviewable

because immigration enforcement is "committed to agency

discretion by law." 5 U.S.C. § 701 (a) (2). The Court rejects this

argument as well. While plaintiffs must "clear the hurdle of§

701(a)" before asserting an APA claim, Heckler v. Chaney, 470

U.S. 821, 828 (1985), this hurdle is not very high. An action is

"committed to agency discretion by law" only where the statute

is "drawn in such broad terms that in a given case there is no

law to apply." Citizens to Preserve Overton Park, Inc. v. Volpe,

401 U.S.   402, 410   (1971)   (emphasis supplied). In other words,

agency action is unreviewable "even where Congress has not

affirmatively precluded review.           . if the statute is drawn so

that a court would have no meaningful standard against which to

judge the agency's exercise of discretion." Heckler, 470 U.S. at

830.

       As above, defendants cite sections 1226 and 1357 of the INA

to demonstrate the agency's broad discretion to enforce the

immigration laws and argue that such discretion deprives the

court of any meaningful standard against which to judge ICE's



interests. E.g., De Dandrade v. U.S. Dep't of Homeland Sec., 367
F. Supp. 3dl74, 188-90 (S.D.N.Y. 2019); INS v. Legal Assistance
Project, 510 U.S. 1301 (1993) (in-chambers stay order by
O'Connor, J.). But these cases are inapposite to•the instant
suit brought by government plaintiffs.

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decision to arrest immigrants in and around state courthouses.

Mem. 9-11. But as plaintiffs persuasively respond, Oppo. 5-8,

defendants' argument presupposes that plaintiffs are wrong on

the merits. As discussed below, plaintiffs allege that the INA

incorporates a pre-existing common law privilege against civil

arrest of those present at a courthouse and those necessarily

coming and going. Compl. i i 106-16. If true, this would provide

an obvious standard against which to evaluate the agency's

exercise of discretion.   4   See Heckler, 470 U.S. at 830. Even

assuming arguendo that plaintiffs were wrong on the merits of

this argument, their contention satisfies their burden at this

stage of the litigation to present a prima facie case for

reviewability. See Robinson, 21 F.3d at 507.

     Defendants also attempt to rely on the well-settled

proposition that an agency's individual enforcement or

prosecutorial determinations are generally committed to its

discretion by law. See, e.g., Heckler, 470 U.S. at 831 ("[A]n

agency's decision not to prosecute or enforce, whether through

civil or criminal process, is a decision generally committed to



4 This argument does not, as defendants claim, conflate APA
section 701(a) (2) with section 706(2). See Dep't of Commerce v.
New York, 139 S. Ct. 2551, 2568 (2019); Defs.' Suppl. Mem. 4-6.
Plaintiffs do not merely assert in the abstract that defendants'
conduct violates the INA; they also allege that the common law
privilege implicitly adopted by the INA provides a meaningful
standard against which to judge the legality of the agency's
actions. See 139 S. Ct. at 2568.
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an agency's absolute discretion."). But this argument

misunderstands the nature of the suit. Plaintiffs do not

challenge ICE's decision to arrest particular aliens as opposed

to others; they challenge instead what they allege to be a

categorical policy to conduct immigration arrests in particular

places where the statute (implicitly) and the common law

(explicitly) do not permit such arrests. Such a policy would not

be committed to unreviewable agency discretion.

     Finally, defendants' third jurisdictional ground for

dismissal under Rule 12(b) (1)   is that the Directive is not final

agency action and therefore unreviewable under section 704 of

the APA. An agency action is final if two conditions are met:

first, "the action must mark the 'consummation' of the agency's

decisionmaking process;" and second, "the action must be one by

which 'rights or obligations have been determined,' or from

which 'legal consequences will flow.'" Bennett v. Spear, 520

U.S. 154, 177-78 (1997)   (citations omitted).

     Defendants concede that the first prong of the finality

test is here met, but they argue that the Directive fails the

second prong. In defendants' view, the Directive is a general

statement of policy that "merely explains how the agency will

enforce a statute or regulation -       in other words, how it will

exercise its broad enforcement discretion .         . under some

extant statute or rule." Nat'l Mining Ass'n v. McCarthy, 758

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F.3d 243, 251-52 (D.C. Cir. 2014); see Mem. 11-12; Defs.' Reply

Mem. of Law in Further Supp. Of Mot. to Dismiss   (Nov. 13, 2019),

ECF No. 38, at 4-5.

     Plaintiffs respond, however, that the facts as alleged in

the complaint clearly show that the Directive is effectively an

interpretive rule. Oppo. 8-9. It does not simply provide

guidance to ICE officers on how to exercise their discretion,

but rather embodies a conscious change in policy that is based

on a new interpretation of the law. Oppo. 8-10. Such an

interpretive rule would have legal consequences, as it would

subject aliens to civil immigration arrest in settings where

they were not previously so subject, and it would therefore be a

final agency action. See Perez v. Mortg. Bankers Ass'n, 575 U.S.

92, 106 (2015).

     The factors distinguishing policy statements from rules

include "the actual legal effect (or lack thereof)," "the

agency's characterization of the guidance," and "post-guidance

events." McCarthy, 758 F.3d at 252-53. While the Directive

purports only to offer guidance to officers on how to exercise

their enforcement discretion "on a case-by-case basis,"

Directive§ 2 n.1, the "post-guidance events" alleged in

plaintiffs' complaint show beyond cavil that the Directive

actually embodies a legally-consequential change to the agency's

interpretation of the INA. Thus, while courthouse arrests by ICE

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were not totally unheard of prior to the Directive,

nevertheless, following its promulgation, according to the

Complaint, civil immigration arrests by ICE officers in and

around New York state courthouses increased by 1700 percent.

Compl. ~ 58; see also Br. of Immigrant Defense Project et al. 3.

Moreover, these arrests have taken place within the courthouses

themselves, e.g., Compl. ~~ 79-80, on their thresholds, id. ~

69, and only a short distance away, ~ ' id. ~~ 72, 75, 77, 81.

Among the latter category are situations where ICE officers have

identified an alien within a courthouse and then followed her

outside the building to conduct the a r r e s t . ~ ' id. ~ 71. 5

Efforts by New York State to limit the practice, furthermore,

have been ineffective. See Id.   ~~    52-61. A change of this

magnitude necessarily suggests that the Directive embodies ICE's

novel interpretation of its statutory authority to conduct




5 Because of these factual allegations, defendants' argument that
any agency action with respect to arrests around (rather than
within) courthouses is not final under both Bennett prongs is
unavailing. The Directive concededly says nothing on its face
about arrests near or outside of a courthouse. But this Court
has previously held that "an agency need not dress its decision
with the conventional accoutrements of finality" in order to
make it so. U.S. Gypsum Co. v. Muszynski, 161 F. Supp. 2d 289,
291 (S.D.N.Y. 2001) (internal quotation marks and alteration
omitted). Here, ICE's "own behavior belie[s]" its contention
that the Directive does not represent the "consummation of [its]
decisionmaking process" about enforcement actions on the
peripheries of courthouses. Id. (alterations omitted); Bennett,
520 U.S. at 177-78 (internal quotation marks omitted).

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courthouse arrests, and not merely case-by-case guidance to

individual officers.

     Legal consequences flow from this interpretation.

Particularly instructive on this point is U.S. Army Corps of

Engineers v. Hawkes Co., 136 S. Ct. 1807 (2016), which stands

for the proposition that an agency's decision to deny a safe

harbor to a party subject to regulation is a ulegal consequence"

for the purpose of a finality analysis. That case involved the

U.S. Army Corps of Engineers's practice of issuing

ujurisdictional determinations" upon the requesi of a private

party, which determinations notified that party whether or not

its property was subject to civil and criminal regulation under

the Clean Water Act as uwaters of the United States." Respondent

Hawkes Co. had requested such a jurisdictional determination of

its property; in response, the Army Corps of Engineers notified

Hawkes that its property was waters of the United States, though

it did not initiate any enforcement proceeding. Hawkes sued to

challenge the jurisdictional determination, and the Government

moved to dismiss on the ground that the jurisdictional

determination was not a final agency action. 136 S. Ct. at 1811-

13. The Supreme Court denied the motion to dismiss, holding that

the jurisdictional determination was final agency action because

it denied a five-year safe harbor from Clean Water Act

regulation that Hawkes would otherwise have received. See also

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Abbott Labs., 387 U.S. at 150 (noting that an agency

interpretation that "would have effect only if and when a

particular action" were brought can still be a final agency

action)   (citing Frozen Food Express v. United States, 351 U.S.

40 (1956)).

     Here, similarly, the novel interpretation of the INA that

plaintiffs allege to be embodied in the Directive has legal

consequences for the aliens who were not previously subject to

potential enforcement actions at state courthouses, but who now

are, as well as for the proper functioning of the state courtq

themselves.   6   U.S. Army Corps of Engineers is, concededly, not

precisely on point, because a favorable jurisdictional

determination in that case would have granted respondent a

binding, five-year safe harbor, while ICE's pre-Directive policy




6 ICE's pre-Directive policy, promulgated in 2014, allowed
courthouse arrests of limited categories of aliens, including
those "engaged in or suspected of terrorism or espionage, or who
otherwise pose a danger to national security," as well as those
"convicted of crimes, with a particular emphasis on violent
criminals, felons, and repeat offenders." Ex. B to Onozawa Deel.
In contrast to the Directive, this policy did not, for example,
allow "individuals who may be 'collaterally' present, such as
family members or friends" accompanying an alien in one of the
prior categories to a court proceeding to be arrested at a
courthouse. Id. Of course, the extent to which enforcement of
the Directive actually differs from enforcement of the 2014
policy is a question of fact to be answered over the course of
this litigation. But for the purposes of this motion to dismiss,
the Court accepts as true the allegation in plaintiffs'
complaint that courthouse arrests have dramatically increased in
response to the Directive. Compl. ~ 58; Iqbal, 556 U.S. at 678.
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is not alleged to have prohibited courthouse arrests under all

circumstances. 136 S. Ct. at 1812; see Compl. ~ 58. But under a

"pragmatic" view of finality, Abbott Labs., 387 U.S. at 149, the

magnitude of the change in policy is sufficient to bear legal

consequences for aliens subject to potential immigration

enforcement. The Directive therefore is final agency action

subject to judicial review.

                        LEGAL SUFFICIENCY

     The Court now proceeds to consider defendants' three

substantive arguments under Fed. R. Civ. P. 12(b) (6). The first

such argument is addressed to Count One, which claims that the

Directive is invalid because it violates the common law

privilege against courthouse civil arrests, i.e., the privilege

against arresting people in attendance on courthouse matters for

unrelated civil violations either while they are on court

premises or are traveling to or from court on their court-

related matters. This raises two questions. Is the common law

privilege still extant? And, if so, did the INA implicitly

incorporate this privilege? After careful examination of the

history, policy, and application of the common law privilege, as

well as the text of the INA, the Court concludes that the answer

to each of these questions is yes.

    As a starting point, it is patently clear that English

common law provided a privilege against any civil arrests in and

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around courthouses, and also against civil arrests of witnesses

and parties necessarily traveling to and from the courthouse.7

Blackstone's famous Commentaries, on which early U.S. courts

heavily relied in incorporating English common law into the laws

of the several states and the United States, provides explicitly

that:

        Suitors, witnesses, and other persons, necessarily
        attending any courts of record upon business, are not to be
        arrested during their actual attendance, which includes
        their necessary coming and returning. And no arrest can be
        made in the king's presence, nor within the verge of his
        royal palace, nor in any place where the king's justices
        are actually sitting.

3 William Blackstone, Commentaries on the Laws of England 289

(1768). Furthermore, although the privilege goes back to at

least the fifteenth century, Lasch, supra n.7, at 423,     English

courts reconfirmed this privilege in several late eighteenth and

early nineteenth century cases, i.e., at the very time that

English common law was being incorporated into the laws of the

new states of the nascent American republic. See, e.g., Meekins

v. Smith (1791), 126 Eng. Rep. 363, 363 ("[A]ll persons who had

relation to a suit which called for their attendance, whether

they were compelled to attend by process or not,    (in which




7 See generally Br. of Immigration Law Scholars as Amici Curiae
in Supp. of Pls. (Nov. 5, 2019), ECF No. 32 (hereinafter "Br. of
Immigration Law Scholars"); Christopher N. Lasch, A Common-Law
Privilege To Protect State and Local Courts During the
Crimmigration Crisis, 127 Yale L.J. F. 410, 432-439 (2017).
                                  21
number bail were included) were intitled [sic] to privilege from

arrest eundo et redeundo [going and returning], provided they

came bona fide."); Walpole v. Alexander (1782),    99 Eng. Rep.

530, 530-31   (holding that a witness from France could not be

arrested in England while in the country to testify in another

case); Orchard's Case (1828), 38 Eng. Rep. 987, 987-88    (holding

that a lawyer who was arrested while he was at a court in a non-

professional capacity was not validly arrested).

     The purposes of this privilege were both to encourage

parties and witnesses "to come forward voluntarily," Walpole, 99

Eng. Rep at 531; The King v. Holy Trinity in Wareham (1782), 99

Eng. Rep. 530, 530-31, and also to maintain order in the

courthouse, Orchard's Case, 38 Eng. Rep. at 987    ("To permit

arrest to be made in the Court would give occasion to perpetual

tumults .      ."). It thus served, in either case, to e~able

courts to function properly.   8



     There is no real dispute between the parties here that this

privilege was adopted into American common law after

independence. But they differ as to whether it is still

operative. To be sure, these early cases all occurred at a time

when civil arrest of the defendant was the means by which a

plaintiff initiated a civil suit. See Br. of Immigration Law



8 See generally cases cited at Oppo. 16-18; and Br. of
Immigration Law Scholars 8-10, 15-16.
                                   22
Scholars at 8; Ryan, 382 F. Supp. 3d at 155-56 (citing Nathan

Levy, Jr., Mesne Process in Personal Actions at Common Law and

the Power Doctrine, 78 Yale L.J. 52 (1968)). Service of process

ultimately replaced this form of civil arrest, and as a result,

civil arrests in their earlier form were largely extinct at the

time of the adoption of the INA. And, while criminal arrests

remained, the common law privilege was never thought to apply to

criminal arrests.

     However, with the rise of the regulatory state, new forms

of civil arrest arose, the most common of which are arrests of

allegedly undocumented aliens. See I.N.S. v. Lopez-Mendoza, 468

U.S. 1032, 1039 (1984) ("A deportation proceeding is a purely

civil action to determine eligibility to remain in this country,

not to punish an unlawful entry, though entering or remaining

unlawfully in this country is itself a crime."). The immediate

question therefore is whether the common law privilege applies

to such arrests.

     The answer is plainly yes. The continuing availability of

the common law privilege, and its breadth, is shown by the fact

that even after the former kind of civil arrest had become

obsolete, and before regulatory civil arrests had become common,

both the highest court of New York and the U.S. Supreme Court

continued to apply the privilege even when the intrusion was not

an actual arrest but only a disruptive service of process. The

                                23
first such New York case, Person v. Grier,   66 N.Y. 124 (1876),

involved a resident of Pennsylvania, William Grier, who was

served with process for a New York civil action while in New

York in order to serve as a witness in a separate matter. The

Court of Appeals held that Grier was immune from service of

process in New York under the circumstances, writing that:

     It is the policy of the law to protect suitors and
     witnesses from arrests upon civil process while coming to
     and attending the court and while returning home. Upon
     principle as well as upon authority their immunity from the
     service of process for the commencement of 'civil actions
     against them is absolute eundo, morando et redeundo.

Id. at 125. Similarly, in Parker v. Marco, 136 N.Y. 585 (1893),

a resident of South Carolina who was the defendant in an action

in federal court in that state came to New York to attend a

deposition of the plaintiff. The next day, as the defendant was

beginning his journey back to South Carolina, the plaintiff

served him with process for a new suit in New York state court

that arose out of the same cause of action as the first lawsuit.

The Court of Appeals held this defendant immune from suit,

noting that the privilege "has always been held to extend to

every proceeding of a judicial nature" and that "[i]t is not

simply a personal privilege, but it is also the privilege of the

court, and is deemed necessary for the maintenance of its

authority and dignity and in order to promote the due and

efficient administration of justice." Id. at 589.


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     The leading U.S. Supreme Court case, Stewart v. Ramsay, 242

U.S. 128 (1916), likewise held that a Colorado resident was

immune from civil service of process in Illinois while in that

state to testify in a case where he was the plaintiff. The rule

articulated in that case is that "suitors, as well as witnesses,

coming from another state or jurisdiction, are exempt from the

service of civil process while in attendance upon court, and

during a reasonable time in coming and going." Id. at 129. 9

     What these cases demonstrate is that the common law

privilege against courthouse arrests had as its fundamental

purpose the protection of the courts in carrying out their

functions, and that this policy was so strong that, even in the

brief period when civil arrests became rare, the privilege was

extended to service of process. Far from being abandoned,

therefore, the privilege was being expanded. This is as much as

stated in Person, where the highest New York court held that

"[i]t is the policy of the law to protect suitors and witnesses

from arrests upon civil process while coming to and attending

the court and while returning home." 66 N.Y. at 125 (emphasis



9 While plaintiffs' argument rests on the contention that this
privilege was incorporated into the common law of the various
states, specifically New York, Stewart recognized this privilege
as a matter of federal common law as well, and did so in part
because of its ubiquity among the common laws of the states. See
242 U.S. at 130 ("The state courts, with few exceptions, have
followed this rule .     .").


                                25
supplied). A fortiori this privilege extends to civil

immigration arrests.10

     But, although we are ultimately concerned here with a New

York state privilege recognized by the INA, this conclusion is

also reinforced at the federal level by the limited privilege




10 At oral argument before the Court, see Transcript 11/20/19 at
16:25-17:11, defendants sought to narrow the thrust of these
cases by citing Netograph Mfg. Co. v. Scrugham, 197 N.Y. 377
 (1910), which in their view demonstrates that the privilege
against courthouse civil arrest attaches only when the arrestee
travels out of her state of residence for the purpose of
attending a court proceeding. See also United States v. Green,
305 F. Supp. 125, 128 (S.D.N.Y. 1969) ("The rule of immunity was
seen as generally applicable to persons ordinarily without the
jurisdiction of a court, and, therefore, necessarily not
amenable to its service of process, who appeared within that
jurisdiction solely with respect to the cause there already
underway."). Netograph held that a citizen of Ohio who was in
New York as a defendant in a criminal trial was not immune from
being served with process in an unrelated civil case as he was
leaving the state following his acquittal. But Netograph is
totally distinguishable, because it dealt with the situation
where the defendant who appeared in court was there not
voluntarily, but because he was a defendant in a criminal case.
The court reasoned that the justification for the common law
privilege "is to encourage voluntary attendance upon courts and
to expedite the administration of justice," and that "that
reason fails when a suitor or witness is brought into the
jurisdiction of a court while under arrest or other compulsion
of law." Id. at 380. (Given the historical scope of the
privilege, the Court notes without deciding a separate issue as
to whether even such a criminal defendant could be arrested
within a courthouse, rather than during his travels to and from
the courthouse as the defendant in Netograph was. See Parker,
136 N.Y. at 589 ("It is not simply a personal privilege, but it
is also the privilege of the court, and is deemed necessary for
the maintenance of its authority and dignity and in order to
promote the due and efficient administration of justice.").)



                               26
from arrest that the U.S. Constitution grants to legislators,

which also suggests that the courthouse privilege continues to

cover more than just service of process. See U.S. Const. art. I,

§ 6, cl. 1 ("The Senators and Representatives .      . shall in all

Cases, except Treason, Felony and Breach of the Peace, be

privileged from Arrest during their Attendance at the Session of

their respective Houses, and in going to and returning from the

same .        ."). These two doctrines are historically related. As

the Supreme Court has recognized, the Framers modelled the

privilege for legislators on the privilege against courthouse

arrests for ordinary litigants. Williamson v. United States, 207

U.S. 425, 443 (1908)    ("This privilege is conceded by law to the

humblest suitor and witness in a court of justice; and it would

be strange indeed if it were denied to the highest functionaries

of the state in the discharge of their public duties.")    (quoting

Joseph Story, Commentaries on the Constitution of the United

States§ 859 (1833)). The scope of the privilege contained in

the Speech or Debate Clause is, accordingly, evidence of the

scope of the common law privilege. Indeed, it would be odd to

read the latter privilege to no longer cover arrest when the

former privilege, enshrined in the Constitution, undoubtedly

does.

        Finally, and most importantly, the policy objectives cited

for hundreds of years by English and American courts to justify

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the common law privilege against civil courthouse arrests apply

equally to modern-day immigration arrests. The first such

objective that English courts cited to justify the privilege was

the desire to encourage parties "to come forward voluntarily,"

Walpole, 99 Eng. Rep at 531. American courts have recognized

this same purpose. See, e.g., Person, 66 N.Y. at 126 ("Witnesses

might be deterred, and parties prevented from attending .

. "); Netograph, 197 N.Y. at 380 ("[T]he obvious reason of the

rule is to encourage voluntary attendance upon courts and to

expedite the administration of justice .         ."); Stewart, 242

U.S. at 129 ("[T]he fear that a suit may be commenced [at a

court] by sur_nrnons will as effectually prevent his approach as if

a capias might be served upon him."). According to the facts

here alleged, ICE's Directive undermines this purpose by

deterring immigrants from appearing in court, thus denying them

an opportunity to seek justice in their own cases and impeding

civil suits and criminal prosecutions by dissuading them from

serving as witnesses. See Compl.   ~~   88-105; Oppo. 20-22; Br. of

Former Judges 3-11; Br. of Immigrant Defense Project et al.

     The second and even more fundamental purpose of the

privilege is to enable courts to function properly. See, e.g.,

Orchard's Case, 38 Eng. Rep. at 987     ("To permit arrest to be

made in the Court would give occasion to perpetual tumults .

. "); Person, 66 N.Y. at 126 ("[D]elays might ensue or injustice

                                 28
be done."); Parker, 136 N.Y. at 589 ("It is not simply a

personal privilege, but it is also the privilege of the court,

and is deemed necessary for the maintenance of its authority and

dignity and in order to promote the due and efficient

administration of justice."). The Directive undermines this

purpose as well. It has caused precisely the delays, re-

schedulings, waste, and disruptions that so many earlier courts

feared. See Compl.   ~~   68, 70, 75; Oppo. 21-22; Br. of Former

Judges 10-14. This reason, more than any other, compels the

Court to find that, as a matter of New York law, aliens are

privileged from immigration arrest while present at courthouses

and during their necessary coming and going theiefrom.

     Of course, the ICE agents conducting these arrests act

under authority of federal law, not New York law. The ultimate

question then is whether the federal immigration statute, which

is silent on this issue, incorporates the common law privilege,

here applicable to the courts of New York. Plaintiffs argue that

it does, while defendants, on their second substantive argument

for dismissal under Fed. R. Civ. P. 12(b) (6), argue that the INA

preempted and therefore invalidated any potential common law

privilege under the law of New York State.

     There is a general presumption in favor of plaintiffs'

position. The Supreme Court has held in numerous contexts that

"statutes which invade the common law are to be read with a

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presumption favoring the retention of long-established and

familiar principles, except when a statutory purpose to the

contrary is evident." United States v. Texas, 507 U.S. 529, 534

(1993)   (internal quotation marks and alterations omitted).

Similarly, to the extent that the question implicates issues of

federalism, the Supreme Court has also explained that courts

should interpret federal statutes not to "alter the usual

constitutional balance between the States and the Federal

Government" unless Congress's "intention to do so" is

"unmistakably clear in the language of the statute." Gregory v.

Ashcroft, 501 U.S. 452, 460 (1991)    (quoting Will v. Mich. Dep't

of State Police, 491 U.S. 58, 65 (1989)) (internal quotation

marks omitted). The standard for finding that f~deral law has

preempted state law is that such a result must have been "the

clear and manifest purpose of Congress." City of Milwaukee v.

Illinois and Michigan, 451 U.S. 304, 316 (1981)    (citing Rice v.

Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947)).

     Gregory v. Ashcroft is particularly relevant. In that case,

Missouri state judges challenged a provision of the state

constitution that imposed a mandatory retirement age of seventy,

arguing that the state law violated the Equal Protection Clause

of the Fourteenth Amendment and was preempted by the federal Age

Discrimination in Employment Act of 1967. The Governor of

Missouri, as respondent, argued that the statute did not violate

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Equal Protection and that the state judges fell within the

federal statute's exemption for "appointees .        'on a

policymaking level.'" 501 U.S. at 455-56. On the preemption

argument, the Supreme Court construed the statute not to

prohibit a mandatory retirement age for state judges. Noting the

important federalism interests in allowing "the people of

Missouri [to] establish a qualification for those who sit as

their judges," Id. at 460, the Court applied a plain statement

rule and held that the statute was not sufficiently clear that

Congress intended to displace state law in this area. Id. at

464.

       In the instant case, this Court similarly finds no

indication in the language of the statute that the "clear and

manifest purpose of Congress" was to abrogate the relevant state

common law, City of Milwaukee, 451 U.S. at 316, and consequently

holds that the statute incorporates the privilege.

       As evidence for the requisite Congressional intent,

defendants again cite the agency's broad arrest authority under

sections 1226 and 1357 of Title 8 and argue that these

provisions demonstrate that federal immigration regulation is

"so pervasive as to make reasonable the inference that Congress

left no room for the States to supplement it." Rice, 331 U.S. at

230; Mem. 19-24. But this language from Rice is inapposite. The

state common law at issue does not "supplement" the federal

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regulatory scheme at all, but rather creates a very narrow

limitation on federal enforcement authority that is tailored to

protect states' interests in managing their own judicial systems

and one that, indeed, has been recognized as a matter of federal

common law as well. See Stewart, 242 U.S. 128; Lamb v. Schmidt,

285 U.S. 222   (1932). Defendants' reading of the statute would

effectively bar states' sovereign interests from imposing any

limitations on ICE's enforcement discretion, which is a reading

that is not "clear and manifest" from the language of the

statute. City of Milwaukee, 451 U.S. at 316.

     Second, and relatedly, defendants argue that "the federal

government has exclusive authority over immigration," Mem. 21,

and that state law cannot undermine federal power in this area.

See Rice, 331 U.S. at 230 (holding that the clear statement rule

may be satisfied where "the Act of Congress           touch[es] a

field in which the federal interest is so dominant that the

federal system will be assumed to preclude enforcement of state

laws on the same subject."); Arizona v. United States, 567 U.S.

387, 394   (2012)   ("The Government of the United States has broad,

undoubted power over the subject of immigration and the status

of aliens."). This argument is also unpersuasive. The issue is

not whether Congress could displace state common law in this

area, but whether the general language of the INA in fact did.

Insofar as defendants are arguing that any state law touching

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upon immigration is presumptively invalid, the language of the

INA does not compel such a result. While the statute preempts

state laws that criminalize federal immigration violations, see

Arizona, 567 U.S. at 410, it does not necessarily preempt state

laws that narrowly limit federal enforcement authority.

      Third, in what is probably their strongest argument,

defendants point to section 1229(e) of the INA, which is the

only place where the statute mentions courthouse arrests.

Section 1229(e), read in conjunction with its cross-reference to

section 1367, provides that, when "an enforcement action leading

to a removal proceeding" takes place at a courthouse, and the

alien arrested is appearing in connection with a protection

order, child custody, domestic violence, sexual assault,

trafficking, or stalking case, immigration officers may not use

certain types of information from the proceeding in making an

adverse determination of deportability. See 8 U.S.C.          §§

1229 (e) (1) - (2) (B)   &   1367. This section suggests that Congress

did anticipate at least some arrests occurring at courthouses.

But as plaintiffs convincingly respond, Oppo. 14-15, the section

could fairly be read as referring to criminal arrests, against

which the state common law privilege does not protect.

Furthermore, this provision does not necessarily speak to ICE's

arrest authority at all; rather, it may be anticipating criminal

arrests by state and local police forces, which lead to eventual

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ICE removal proceedings. Furthermore, the provision is plausibly

viewed as a prophylactic against ICE actions that target aliens

based on their participation in judicial procee?ings; as

plaintiffs argue, id., it would be odd to view a provision meant

to encourage aliens' attendance at court as evidence of

Congressional intent to allow ICE to undermine that very

objective. For these reasons, section 1229(e) of the INA does

not demonstrate that Congress unambiguously intended to displace

the state common law privilege against courthouse civil arrests.

     As their final argument under Fed. R. Civ. P. 12(b) (6),

defendants argue that Count Three fails to state a Tenth

Amendment claim. The crux of plaintiffs' Tenth Amendment

argument is that the Directive undermines New York's sovereign

interests by "interfering with state court operations and

impeding criminal prosecutions." Compl. 'JI 139. The defendants

respond that this is not the kind of interference that involves

"commandeering" of state agents that in their view   is   necessary

to a Tenth Amendment claim. Mem. 24-25; see Murphy v. Nat'l

Collegiate Athletic Ass'n, 138 S. Ct. 1461, 1475 (2018). Here,

however, the Complaint unmistakably alleges a type of

commandeering similar to those that the Supreme Court has found

to lie at the heart of a Tenth Amendment cause of action. See

Murphy, 138 S. Ct. 1461, Printz v. United States, 521 U.S. 898

(1997); New York v. United States, 505 U.S. 144 (1992). The

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clear implication of the facts alleged in plaintiffs' complaint

is that ICE's policy has commandeered state and' local judges and

court officials not to take action in response to ICE's arrests,

even when the federal agency causes great disruption to the

functioning of the state judiciary and the state agents would

therefore normally intervene. See, e.g., Compl. 11 69, 74, 75,

77, 78. Plaintiffs accordingly state a Tenth Amendment claim.

See Murphy, 138 S. Ct. at 1475-78.

                            CONCLUSION

     For the aforementioned reasons, the motion to dismiss is

hereby denied with respect to all of plaintiffs' claims for

relief. The stay granted from the bench at oral argument is

lifted, and the case management plan adopted on October 8, 2019

is amended as follows:

     The administrative record is to be filed by no later than

January 3, 2020; all discovery is to be completed by February

28, 2020; moving papers for any post-discovery summary judgment

motions are to be filed no later than March 13, 2020, with

answering papers by no later than March 27, 2020 and reply

papers by no later than April 3, 2020; and a final pre-trial

conference, as well as oral argument on any summary judgment

motions, will be held on April 14, 2020 at 11:00 AM.




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     SO ORDERED.

Dated:    New York, NY
          December   l.j,   2019




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